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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


SENCO BRANDS, INC.,                           )
                                              )
                   Plaintiff,                 )
                                              )
v.                                            )       C. A. No. 17-598-GMS
                                              )
HITACHI KOKI U.S.A., LTD.,                    )
                                              )
                   Defendant.                 )




              PLAINTIFF’S ANSWERING BRIEF IN OPPOSITION TO
              DEFENDANT HITACHI KOKI’S RULE 12(b)(6) MOTION
        TO PARTIALLY DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT



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Dated: September 25, 2017




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                     I.        NATURE AND STAGE OF PROCEEDINGS

         Plaintiff Senco Brands, Inc. (“Senco”) filed its original complaint against Defendant

Hitachi Koki U.S.A., Ltd. (“Hitachi Koki”) on May 23, 2017 alleging infringement of U.S.

Patent Nos. 8,011,547 (the “’547 patent”), 8,267,296 (the “’296 patent”), 8,267,297 (the “’297

patent”), 8,387,718 (the “’718 patent”), 8,286,722 (the “’722 patent”), and 8,602,282 (the “’282

patent”) (collectively the “Patents-in-Suit”). (D.I. 1, the “Original Complaint”).

         After Hitachi Koki filed a motion to partially dismiss the Original Complaint under

Federal Rule of Civil Procedure 12(b)(6) on August 7, 2017 (D.I. 8), Senco filed its First

Amended Complaint against Hitachi Koki on August 28, 2017. (D.I. 12, the “Amended

Complaint”). Hitachi Koki then filed the present motion to partially dismiss the Amended

Complaint under Federal Rule of Civil Procedure 12(b)(6) (D.I. 11, the “Motion”) and its brief in

support thereof (D.I. 12) on September 11, 2017.

         Because Senco’s Amended Complaint properly pleads claims of willful infringement and

induced infringement, Hitachi Koki’s Motion should be denied. This is Senco’s answering brief

in opposition to the Motion.

                          II.     SUMMARY OF THE ARGUMENT

         Hitachi Koki’s Motion should be denied because Senco’s Amended Complaint alleges

sufficient facts to state plausible claims that Hitachi Koki (i) had knowledge that it was

infringing the Patents-in-Suit and (ii) induced its customers to infringe the Patents-in-Suit.

         First, the Motion must be denied with respect to acts of infringement that occurred on or

after May 23, 2017, the date on which the Original Complaint was filed with allegations that

Hitachi Koki had willfully infringed the Patents-in-Suit and induced its customers to infringe the

same. Hitachi Koki has not argued—and could not argue—that it lacked knowledge either of the

Patents-in-Suit or that it was infringing the Patents-in-Suit after having been served with a

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complaint alleging such infringement. See, e.g., Bayer Healthcare, LLC v. Baxalta Inc., C.A.

No. 16-1122-RGA (D. Del. Aug. 10, 2017) (ORDER) (D.I. 27 at 1-2) (“Defendants do not and

could not argue that they did not have knowledge of the patent [in suit] after being served with

the complaint.”).

         Second, the Amended Complaint pled allegations to establish that Hitachi Koki had

knowledge of the Patents-in-Suit prior to its first infringement of the Patents-in-Suit and that it

knew or should have known that its manufacture and sale of its Infringing Nailers was likely to

infringe the Patents-in-Suit.

         Finally, the Amended Complaint pled that Hitachi Koki provides detailed user manuals

with the Infringing Nailers that instruct users to perform actions that infringe the Patents-in-Suit.

Combined with Hitachi Koki’s knowledge of the Patent-in-Suit, these user manuals establish that

Hitachi Koki had the requisite intent to induce its customers to infringe.

                                III.   STATEMENT OF FACTS

         Senco originally filed a complaint alleging infringement of the Patents-in-Suit against

Hitachi Koki in the District Court for the Southern District of Ohio on January 25, 2017.

Complaint, Senco Brands, Inc. v. Hitachi Koki USA Ltd., C.A. No. 1:17-cv-61 (S.D. Ohio Jan.

25, 2017) (D.I. 1, the “Ohio Complaint”). 1 Hitachi Koki executed a waiver of service for the

Ohio Complaint on February 1, 2017. Waiver of Service, Senco Brands, Inc. v. Hitachi Koki

USA Ltd., C.A. No. 1:17-cv-61 (S.D. Ohio Feb. 1, 2017) (D.I. 13).             The Ohio Complaint
1
  In evaluating a motion to dismiss, the Court may consider items outside the four corners of the
complaint, including “items subject to judicial notice, matters of public record, orders, [and]
items appearing in the record of the case.” Buck v. Hampton Twp. Sch. Dist., 452 F.3d 256, 260
(3d Cir. 2006) (quoting 5B Charles A. Wright & Arthur R. Miller, Federal Practice & Procedure
1357 (3d ed. 2004)). “The Court may also take judicial notice of the factual record of a prior
proceeding.” Fairchild Semiconductor Corp. v. Power Integrations, Inc., 100 F. Supp. 3d 357,
361 (D. Del. 2015) (citing Oneida Motor Freight, Inc. v. United Jersey Bank, 848 F.2d 414, 416
n.3 (3d Cir. 1988)). The Ohio Complaint is a public record of the Court may take judicial notice
for the purposes of evaluating the Motion.

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specifically identified the Patents-in-Suit and contained substantially the same detailed

allegations regarding Hitachi Koki’s infringement of the Patents-in-Suit as the Original

Complaint. See, e.g., Ohio Complaint ¶ 6 and Exhibit B. Senco voluntarily dismissed the Ohio

Complaint on May 23, 2017 based on the Supreme Court’s holding regarding the residence of

domestic corporations under 28 U.S.C. § 1400(b) in TC Heartland LLC v. Kraft Foods Group

Brands LLC, 137 S. Ct. 1514 (2017) (see Notice of Voluntary Dismissal, Senco Brands, Inc. v.

Hitachi Koki USA Ltd., C.A. No. 1:17-cv-61 (S.D. Ohio May 23, 2017) (D.I. 21) and filed its

Original Complaint before this Court. (D.I. 1.) Hitachi Koki executed a waiver of service of

process for the Original Complaint on July 5, 2017. (D.I. 6.) After Hitachi Koki moved to

dismiss the Original Complaint, Senco filed its Amended Complaint on August 28, 2017. (D.I.

12.)

         Since well before the start of this litigation, Senco has sold its Fusion™ product line of

nailers (the “Fusion Nailers”), which are covered by the Patents-in-Suit. (Amended Complaint,

D.I. 12 ¶ 20.) At least as early as January 2015, Senco’s Fusion Nailers were sold through

Lowes locations (Id. ¶ 22.) Lowes advertised the Fusion Nailers on Lowes’ website side by side

with Hitachi Koki’s competitive nailer products. (Id.) Lowes’ advertisements for the Fusion

Nailers clearly state that Senco’s Fusion Nailers are patented.       (Id. ¶ 23.)   The Amended

Complaint pleads that, on information and belief, Hitachi Koki designed certain nailers (model

numbers NT1865DMA, NT1865DM, and NT1850DE) (collectively, the “Infringing Nailers”) to

be substantially similar to Senco’s Fusion Nailers, which are covered by the Patents-in-Suit. In

late 2016, Hitachi Koki then presented its Infringing Nailers to Lowes as replacements for

Senco’s patented Fusion Nailers.       (Id. ¶ 24.)   Thereafter, Hitachi Koki began selling its

Infringing Nailers through Lowes with full knowledge of Senco’s patents related to Senco’s



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patented Fusion Nailers—that is, with full knowledge of the Patents-in-Suit.

         Hiatchi Koki’s Infringing Nailers are sold with user manuals containing detailed

instructions that describe how to use the Infringing Nailers. (Id. ¶ 78; Id. at Exhibit I.) These

user manuals instruct users to operate the Infringing Nailers in a manner that infringes the

Patents-in-Suit. (Id. ¶ 78.)

                                       IV.     ARGUMENT

         To survive a motion to dismiss under Rule 12(b)(6), a complainant must plead sufficient

facts to show that the challenged claim has “substantive plausibility.” Johnson v. City of Shelby,

135 S. Ct. 346, 347 (2014). “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The facts set forth in the

complaint must merely “nudge[] [the plaintiff’s] claims across the line from conceivable to

plausible.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “The complaint must state

enough facts to raise a reasonable expectation that discovery will reveal evidence of [each]

necessary element” of a plaintiff's claim. Wilkerson v. New Media Tech. Charter Sch. Inc., 522

F.3d 315, 321 (3d Cir. 2008) (internal quotation marks and citation omitted).

         In analyzing a motion to dismiss, “a court must accept all well-pleaded factual allegations

in the complaint as true, and view them in the light most favorable to the plaintiff.” DermaFocus

LLC v. Ulthera, Inc., 201 F. Supp. 3d 465, 468 (D. Del. 2016). To determine if an allegation is

plausible, the “court may consider the pleadings, public record, orders, exhibits attached to the

complaint, and documents incorporated into the complaint by reference.” Id. (citing Tellabs,

Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007); Oshiver v. Levin, Fishbein,

Sedran & Berman, 38 F.3d 1380, 1384–85 n.2 (3d Cir. 1994)). This analysis is a “context-

specific task that requires the reviewing court to draw on its judicial experience and common

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sense.” Iqbal, 556 U.S. at 679.

         1.        Senco has plausibly alleged willful infringement

         “A patent infringer’s subjective willfulness, whether intentional or knowing, may warrant

enhanced damages, without regard to whether his infringement was objectively reckless.” Halo

Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1926 (2016). “At the pleading stage, it is not

necessary to show that the case is egregious.” Bio-Rad Labs. Inc. v. Thermo Fisher Sci. Inc.,

C.A. No. 16-358-RGA, 2017 WL 438733, at *1 (D. Del. Feb. 1, 2017). To survive a motion to

dismiss, it is only necessary for the complaint to set forth facts upon which “it is plausible that

[the defendant] intentionally or knowingly infringed the patent-in-suit.” Id. at *2.

                   a.     Hitachi Koki has knowledge of the Patents-in-Suit post-suit

         In analyzing a Rule 12(b)(6) motion to dismiss a claim of willful patent infringement,

courts in the District of Delaware have divided the inquiry into (i) acts of infringement that occur

prior to the date on which a plaintiff filed suit and (ii) acts of infringement that occurred on or

after the date on which the plaintiff’s complaint was filed. See, e.g., Bayer Healthcare LLC, v.

Baxalta Inc., C.A. No. 16-1122-RGA (D. Del. August 10, 2017) (ORDER) (D.I. 27 at 1-2) (“It

seems to me, as an initial matter, that the dispute here is necessarily limited to the period of time

between when the patent issued . . . and when Plaintiff filed suit. . . . Defendants do not and

could not argue that they did not have knowledge of the patent after being served with the

complaint.”). This division is necessary because under the standard for determining willfulness

announced in Halo Electronics, Inc., 136 S. Ct. at 1932, a defendant cannot plausibly deny that it

lacked knowledge of an asserted patent after it has received a complaint containing detailed

infringement allegations. See DermaFocus, 201 F. Supp. 3d at 473 (denying motion to dismiss

with respect to post-complaint willful infringement); Apple Inc. v. Samsung Elecs. Co., C.A. No.

12-00630-LHK, 2017 WL 2720220, at *11 (N.D. Cal. June 23, 2017) (under Halo, “post-filing

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conduct alone can serve as the basis of a jury’s willfulness finding and an award of enhanced

damages”).

         Here, Hitachi Koki does not—and could not—dispute that it had full knowledge of the

Patents-in-Suit at least as early as the filing of the Original Complaint on May 23, 2017. 2 The

Amended Complaint alleges that despite Hitachi Koki’s knowledge of the Patents-in-Suit,

Hitachi Koki continues to sell the Infringing Nailers. (Amended Complaint, D.I. 12 ¶ 79.) Just

as in DermaFocus, Zimmer Surgical, and Bayer Healthcare, Hitachi Koki’s motion to dismiss

must be denied at least with respect to post-suit willfulness.

                   b.   Senco has plausibly pled that Hitachi Koki had pre-suit knowledge of
                        the Patents-in-Suit.

         Taking the well-pled facts of the Amended Complaint as true, it is not only plausible, but

probable that Hitatchi Koki had full knowledge of the Patents-in-Suit prior to importing, making,

using, or offering for sale the Infringing Nailers.

         As set forth in the Amended Complaint, starting in or around July 2013, Hitachi Koki

sold its non-infringing professional line of nailer products side by side with Senco’s professional

nailer products through Lowes. (Amended Complaint, D.I. 12 ¶ 21.) Starting around January

2015, Senco’s patented Fusion Nailers were sold side by side with Hitachi Koki’s non-infringing

cordless nailer products. (Amended Complaint, D.I. 12 ¶ 22.) Although they were not marked

with the numbers of the Patents-in-Suit, the advertisements for Senco’s Fusion Nailers stated that

they were patented. (Id.) Hitatchi Koki’s products appeared next to Senco’s Fusion products

(which were described as being patented) in Lowe’s advertisements. (Id.) Senco’s Fusion

products are covered by the Patents-in-Suit. (Amended Complaint, D.I. 12 ¶¶ 19–20.) Because
2
  Indeed, Hitachi Koki had full knowledge of the Patents-in-Suit at least as early as February 1,
2017, when it received a copy of the Ohio Complaint that contained detailed allegations that
Hitachi Koki was infringing the Patents-in-Suit by making, using, and offering for sale the
Infringing Nailers.

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it was selling competitive products that appeared next to Senco’s patented Fusion products

(which were described as being patented) in Lowe’s advertisements, Hitatchi Koki became

aware of the Patents-in-Suit during this time. (Amended Complaint, D.I. 12 ¶ 23.)

         In addition to the foregoing facts—which plead how Hitachi Koki encountered and

learned of the Patents-in-Suit—Senco’s Amended Complaint explicitly pleads that Hitachi Koki

was aware of the Patents-in-Suit prior to making its Infringing Nailers. “In late 2016, Hitachi

began selling the infringing Hitachi Nailers through Lowes with full knowledge of Senco’s patents

related to Senco’s Patented Fusion nailers [i.e., the Patents-in-Suit] and with full knowledge that they

had replaced the Senco’s Patented Fusion product nailer.” (Amended Complaint, D.I. 12 ¶ 25.)

         These facts are similar to those presented in Cipla Ltd. v. Sunovion Pharmaceuticals,

Inc., where Judge Stark concluded that the plaintiff had plausibly set forth a claim of willful

infringement. 174 F. Supp. 3d 869, 784 (D. Del. 2016). In Cipla, the plaintiff baldly alleged that

the defendant had knowledge of the patent-in-suit without providing any further explanation as

to how the defendant had gained this knowledge. Id. (“The complaint alleges that . . . Defendant

had (and continues to have) knowledge of the [patent-in-suit] ( [Complaint] ¶ 13).”). The specific

paragraph relied upon by Judge Stark simply stated in relevant part that “Upon information and

belief, during the time period relevant to the claims set forth below, [defendant] had knowledge

of the [patent-in-suit].” Complaint, Cipla Ltd. v. Sunovion Pharmaceuticals, Inc., C.A. No. 15-

424-LPS (D. Del. May 26, 2015) (D.I. 1 ¶ 13).

         Senco’s complaint goes far beyond the minimal acceptable pleading in Cipla. Senco not

only alleges that Hitachi Koki was aware of the Patents-in-Suit, Senco has set forth facts which

plausibly establish how Hitachi Koki learned of the Patents-in-Suit (a factual basis that was not

required in Cipla). As the Amended Complaint far exceeds the minimal pleading threshold

required under Rule 8, Hitachi Koki’s Motion should be denied.

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                   c.    Senco has pled facts establishing Hitachi Koki’s conduct as egregious.

         As detailed above, Senco has plausibly alleged that Hitachi Koki deliberately created the

Infringing Products to replace Senco’s patented Fusion Nailers, despite its knowledge of the

Patents-in-Suit. (Amended Complaint, D.I. 12 ¶ 24.) Hitachi Koki’s Infringing Products were

“designed to be substantially similar” to Senco’s patented Fusion Nailers. (Id.) After learning of

the Patents-in-Suit, Hitachi Koki studied Senco’s patented Fusion products and approached

Lowes with an offer to replace them with Hitatchi Koki’s substantialy identical Infringing

Nailers. (Id.) Hitachi Koki sold its Infringing Nailers “with full knowledge” of the Patents-in-

Suit (Id. ¶ 25), and has continued to do so to this day (even after having been served with both

the Ohio Complaint and the Original Complaint). (Id. ¶ 79.)

         Hitachi Koki’s actions are exactly the type of behavior that is “willful, wanton, malicious,

bad-faith, deliberate, consciously wrongful, flagrant, or—indeed—characteristic of a pirate” and

should be punished through an award of enhanced damages. Halo, 136 S. Ct. at 1932.

         2.        Senco has plausibly alleged induced infringement.

         To plead a claim for induced infringement, a plaintiff must allege facts sufficient to

establish three things: (1) the patent-in-suit is directly infringed; (2) the defendant induced that

infringement; and (3) the defendant did so with the specific intent to encourage the third party to

infringe. See, e.g., Cipla, 174 F. Supp. 3d at 872 (citing Warner-Lambert Co. v. Apotex Corp.,

316 F.3d 1348, 1363 (Fed. Cir. 2003)).

         Hitachi Koki does not contest that the Amended Complaint sets forth sufficient facts to

establish the first two elements, namely, that the Patents-in-Suit are directly infringed and that

Hitachi Koki induced that direct infringement. (D.I. 15 at 8–11.)

         With respect to Hitachi Koki’s knowledge, as set forth above, Hitatchi Koki does not

(and could not) contest that it both knew of the Patents-in-Suit and that it had the specific intent

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to induce its customers to infringe the Patents-in-Suit by selling the Infringing Nailers. See, e.g.,

Princeton Dig. Image Corp. v. Ubisoft Entm’t SA, C.A. No. 13-335-LPS-CJB, 2016 WL

6594076, at *9 (D. Del. Nov. 4, 2016) (“It is not disputed that service of the original Complaint

on [defendant] in April 2013 gave that Defendant actual knowledge of the [patent-in-suit].”); see

also Softview LLC v. Apple Inc., C.A. No. 10-389-LPS, 2012 WL 3061027, at *7 (D. Del. July

26, 2012) (“[T]he filing of a complaint is sufficient to provide knowledge of the patents-in-suit

for purposes of stating a claim for indirect infringement occurring after the filing date.”).

         Senco has further plausibly pled that Hitachi Koki knew of the Patents-in-Suit prior to

creating its Infringing Nailers and intended to induce its customers to infringe the Patents-in-Suit

by using the Infringing Nailers. Because Hitachi Koki created its Infringing Nailers as direct

replacements for Senco’s patented Fusion Nailers, one can reasonably infer that any use of the

Infringing Nailers would infringe the Patents-in-Suit. Hitachi Koki provided detailed manuals

with each of its products that instructed customers to use the Infringing Nailers in a manner that

would infringe the Patents-in-Suit. (Amended Complaint, D.I. 12 ¶ 79.) User manuals are

exactly the type of instruction courts have accepted as demonstrating the specific intent to induce

infringement. See, e.g., AstraZeneca LP v. Apotex, Inc., 633 F.3d 1042, 1058 (Fed. Cir. 2010)

(indicating that labels or instructions teaching third parties how to use a drug in an infringing

manner can be evidence of intent to induce infringement); see also Lucent Techs., Inc. v.

Gateway, Inc., 580 F.3d 1301, 1322 (Fed. Cir. 2009) (“Evidence of active steps taken to induce

infringement, such as advertising an infringing use, can support a finding of an intention for the

product to be used in an infringing manner.”).

         3.        If the Court grants the Motion, Senco should be granted leave to file an
                   amended pleading.

         Federal Rule of Civil Procedure 15(a)(2) provides that once 21 days have passed after a


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pleading is filed, a party may amend its pleading “only with the opposing party’s written consent

or the court’s leave.” Fed. R. Civ. P. 15(a)(2). “The court should freely give leave when justice

so requires” (Id.), and the court has discretion to grant or deny leave to amend. Foman v. Davis,

371 U.S. 178, 182 (1962); In re Burlington Coat Factory Secs. Litig., 114 F.3d 1410, 1434 (3d

Cir. 1997). The Third Circuit has held that leave to amend pleadings should be liberally granted

so that “claim[s] will be decided on the merits rather than on technicalities.” Dole v. Arco Chem.

Co., 921 F.2d 484, 487 (3d Cir. 1990). Absent undue delay, bad faith or dilatory motives on the

part of the moving party, the amendment should be freely granted, unless it is futile or unfairly

prejudicial to the non-moving party. Foman, 371 U.S. at 182; In re Burlington, 114 F.3d at

1434.

         When a party seeks leave to amend its pleading, the non-movant bears the burden to

demonstrate that leave should be denied. See, e.g., Campbell v. Sedgwick Detert, Moran &

Arnold, C.A. No. 11-642-ES-SCM, 2013 WL 1314429, at *2 (D.N.J. Mar. 28, 2013) (citing

Foman, 371 U.S. at 182); Price v. Trans Union, LLC, 737 F. Supp. 2d 276, 279 (E.D. Pa. 2010).

         To the extent the Court grants Hitachi Koki’s Motion (either in whole or in part), the

Court should grant Senco leave to file an amended pleading to remedy any deficiencies in the

Amended Complaint after the parties have engaged in discovery. Hitachi Koki has not presented

any arguments as to why the Court should dismiss Senco’s claims for willful infringement and

induced infringement with prejudice, rather than granting Senco leave to file an amended

pleading (if necessary) containing further allegations on these claims at a future time. 3 As



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 Hitachi Koki’s reliance on Holmes v. Gates is misplaced. 403 F. App’x 670 (3d Cir. 2010). In
Holmes, the plaintiff had already obtained leave to amend her complaint three times. Id. at 673.
When Holmes sought leave to file her fourth proposed amendment, the district court noted that
she “continues to assert the same conclusory statements as in the previous three iterations of
Plaintiff's complaint” and refused to grant leave on that basis. Holmes v. Gates, C.A. No. 1:08-

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Hitachi Koki will suffer no unfair prejudice, the Court should exercise its discretion and to the

extent Senco’s claims are dismissed, such dismissal should be without prejudice.

                                       V.     CONCLUSION

         Because Senco’s allegations in the Amended Complaint plausibly establish that Hitachi

Koki had both knowledge of the Patents-in-Suit and the specific intent to induce its customers to

infringe the Patents-in-Suit prior to creating the Infringing Nailers, Hitachi Koki’s Motion should

be denied.         Alternatively, Hitachi Koki’s Motion must be denied with respect to acts of

infringement which occurred after the filing of the Original Complaint, as it cannot deny that it

had the requisite knowledge and specific intent after that date.



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Dated: September 25, 2017




CV-2152, 2010 WL 956412, at *4 n.3 (M.D. Pa. Mar. 11, 2010). Here, plaintiff voluntarily filed
its Amended Complaint and should be provided with an opportunity to file an amended pleading,
to the extent further allegations are required, at a later date.

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